

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-80,716-01






EX PARTE RAYMOND V. RENTERIA, JR., Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 1395723-A


		IN THE 351ST  DISTRICT COURT FROM HARRIS COUNTY





	Per curiam.

		

O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty and was convicted
of possession of cocaine more than one gram but less than four grams and sentenced to four years'
imprisonment.  He did not appeal his conviction.

	After Applicant pleaded guilty and was sentenced, the lab report revealed that the actual
amount of cocaine was less than 1 gram. 

	The trial court has determined that the lab report does show an amount less than 1 gram and
that Applicant has established he is entitled to relief.  The State and the trial court both recommend
granting relief.  Applicant is entitled to relief. 

	Relief is granted.  The judgment in Cause No. 1395723 in the 351st Judicial District Court
of Harris County is set aside, and Applicant is remanded to the Harris County Sheriff to answer the
charge against him.  The trial court shall issue any necessary bench warrant within 10 days after the
mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: January 15, 2014

Do Not Publish


